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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
UNITED STATES OF AMERICA, ) CASE NO.: 1:25-cr-00135
Plaintiff, ) JUDGE DONALD J. NUGENT
-VS- )
)
MICHAEL NAWALENIEC, ) MOTION FOR BILL OF
) PARTICULARS
Defendant. )

NOW COMES the Defendant, Michael Nawaleniec, by and through his undersigned
legal counsel, Rodger A. Pelagalli Co., L.P.A., and moves this Honorable Court pursuant to Rule
7 of the Federal Rules of Criminal Procedure, to order the Prosecuting Attorney to furnish a Bill
of Particulars as it applies to the Indictment. Said Bill of Particulars to contain the following
information: -

1. The time the alleged offense(s) was/were commitied;

2. The place where the alleged offense(s) was/were committed;

3, The specific conduct alleged which constitutes the offense as charged in the

Indictment.
Respectfully Submitted,

/s/rodger a. pelagaili/

RODGER A. PELAGALLI (0034530)
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Attorney for Defendant

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BRIEF IN SUPPORT

The Defendant, by and through Counsel, states that the Indictment does not adequately
state the time or place of the offense, and further, that the Indictment is indefinite as to the
content and conclusions; therefore, Defendant is unable from a reading of said Indictment to
reasonably know the time, place and nature and cause of the charge against him.

The matters and particulars herein above requested are essential to enable the Defendant
to be adequately apprised of the nature and scope of the accusations against him (as guaranteed
by the Sixth Amendment to the Constitution), to have an opportunity to adequately prepare his
defense, to avoid prejudicial surprise at trial, to clarify the issues herein and avoid any confusion
and delay at trial, and to enable him to be protected against a second prosecution for the same
offense and plead double jeopardy thereto as guaranteed by the Fifth Amendment to the
Constitution.

The Defendant further respectfully moves that this Honorable Court direct that as to any
items in this Motion concerning which the Government shall state in its Bill of Particulars that its
knowledge or information is incomplete, the Government shall set forth in its Bill of Particulars

whatever knowledge and information it may have and shall furnish further particulars upon

obtaining further knowledge or information prior to trial, and that the Defendant shall have such

further and other relief as this Honorable Court may deem just and proper.

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CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing Motion for a Bill of Particulars was
forwarded via the Court’s electronic filing system to AUSA Michelle Baeppler on this 30th day

of April, 2025.

Respectfully Submitted,

/s/rodger a. pelagalli/

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